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                                              LEASE




                                [LEGAL NAME OF LANDLORD ENTITY],
                                          LANDLORD,


                                               AND


                                    [LEGAL NAME OF TENANT],
                                            TENANT

                                    DATED: __________________,

                                    PREMISES: ________________




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                                             LEASE

THIS LEASE (the “Lease”) is made and entered into as of this _____ day of ______________
(the “Effective Date”), by and between _____________________________, a
________________________________ (“Landlord”), and _________________________, a
________________________________ (“Tenant”). This Lease replaces in its entirety any and
all prior leases of the Premises (defined herein), oral or written.

ARTICLE 1:            PREMISES

1.01 Lease of Premises. For and in consideration of the rents, covenants and agreements
herein contained, Landlord hereby leases to Tenant and Tenant leases from Landlord for the
Term (as defined in Section 2.01), upon and subject to all of the terms, conditions and provisions
of this Lease, the tract of the land legally described on Exhibit A attached hereto and
incorporated herein (the “Land”), the [industrial/warehouse] facility located thereon, known as
_______________________________              (the     “Building”),   having     an    address     of
_______________________________, together with the parking areas, landscaping, walkways
and all other improvements related to the Building and located on the Land (collectively, the
“Premises”). If the Premises is part of a larger complex of structures owned by Landlord and
used by Landlord and/or leased to other tenants (such complex being referred to herein, as the
“Project”), Landlord hereby grants to Tenant during the Term, for the benefit of the Premises,
non-exclusive easements over the Common Area for ingress, egress and parking, and for the use,
maintenance, repair and, if necessary, replacement of utility lines and related facilities serving
the Premises. In no event shall Tenant or its employees, customers or invitees be charged any
fee to access or park in the Project. As used herein, the term “Common Area” shall mean the
access drives, parking areas, landscaped areas and sidewalks, as they exist from time to time
located within the Project (but situated outside of the Premises) that are made available for the
joint use and benefit of Landlord and all owners and occupants of the Project and their respective
customers, employees and invitees, together with the utility lines and storm water management
facilities located in or serving the Project that serve multiple occupants of the Project, including
Tenant, and/or that exclusively serve the Project. The storm water management facilities may be
located off site. The “Common Area” does not include individual utility lines, any buildings or
any areas or facilities available for use by only a limited number of owners or occupants, such as,
but not limited to, loading docks, drive-thru lanes, porte-cocheres and dumpsters.

1.02 Acceptance of the Premises. The Premises are demised and let subject to the (a)
Permitted Encumbrances (defined in Section 1.03); (b) the requirements of all present and future
laws applicable to the Premises and this Lease; (c) the provisions of this Lease; (d) the condition
of the Premises as of the Commencement Date (defined in Section 2.01), and (e) subject to the
Landlord Disclaimers (defined in Section 9.02). Tenant has fully inspected the Premises and
accepts the Premises and all improvements thereon as suitable for Tenant’s business purposes in
their present condition.

1.03 Permitted Encumbrances. As used herein, the term “Permitted Encumbrances” means
(i) those covenants, restrictions, reservations, liens, conditions, encroachments, easements,
encumbrances and other matters of record, and (ii) all rights and interests (whether or not of


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record) that would be shown by a current survey or by an inspection of the Premises; to the
extent any of the foregoing affect the Premises as of the date hereof, or arise due to the acts or
omissions of Tenant after the date hereof, or arise due to the acts or omissions of Landlord with
Tenant’s consent, after the date hereof.

1.04 Security Deposit. Tenant, concurrently with the execution of this Lease, has deposited
with Landlord an amount equal to one (1) month of Base Rent in the amount of $___________
as the security deposit (“Security Deposit”). The Security Deposit shall be retained by Landlord
as security for the payment by Tenant of the Rent herein agreed to be paid by Tenant and for the
faithful performance by Tenant of the Lease terms and covenants. Landlord shall not be required
to pay Tenant any interest on said Security Deposit and may commingle it with other funds of
Landlord.

ARTICLE 2:            LEASE TERM

2.01 Lease Term. The term of this Lease shall be for five (5) years and zero (0) months (the
“Initial Lease Term”), shall commence on __________ ___, 2019 (the “Commencement
Date”), and shall expire absolutely and without notice, at 11:59 p.m. on _________, 2024, unless
sooner terminated as herein provided.

2.02 Option to Extend. Provided Tenant is not in default under any of the terms and
conditions of this Lease, Tenant will have the option to extend the term of this Lease for an
additional term of five (5) years (the “Extension Term”). Tenant shall exercise the option by
giving Landlord notice of its intent to exercise the option at least six (6) months prior to the
expiration of the Initial Lease Term (hereinafter referred to as an “Extension Notice”). The term
shall include the Initial Lease Term and the Extension Term, if any (the “Term”).

If Tenant exercises its option to extend the term of the Lease for the Extension Term then the
Extension Term shall be upon all of the same terms and conditions of this Lease except for Base
Rent, which shall be calculated in the same manner as detailed in Section 4.01 herein.

2.03 Holding Over. If Tenant does not vacate the Premises and surrender the Premises in the
condition required hereby upon the expiration or earlier termination of this Lease, (i) Tenant will
indemnify Landlord against all damages, costs, liabilities and expenses, including attorneys’
fees, which Landlord incurs on account of Tenant’s failure to vacate and surrender, and (ii) the
Base Rent (defined in Section 4.01) will increase to one hundred fifty percent (150%) of the
Base Rent then in effect and Tenant’s obligation to pay Additional Rent (defined in Section 4.02)
will continue. Any holdover by Tenant shall constitute a tenancy at sufferance, subject to
termination by Landlord at any time, and shall not constitute an extension of the Lease or
recognition by Landlord of any right of Tenant to remain in the Premises.

2.04 Covenant of Quiet Enjoyment. Tenant, on paying the Rent (defined in Section 4.02) and
performing its obligations hereunder, will peacefully and quietly have, hold and enjoy the
Premises throughout the Term without any manner of hindrance from Landlord, subject however
to all the terms and provisions hereof.




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ARTICLE 3:            USE OF PREMISES

3.01 Manner of Use. Tenant may use the Premises for any lawful commercial or industrial use
with no obligation to operate or continuously operate (the “Permitted Use”). Tenant will not
cause or permit the Premises to be used in any way which (i) constitutes a violation of any Legal
Requirements (as defined below), or (ii) constitutes a nuisance or waste or will invalidate any
insurance carried by Landlord. The term “Legal Requirements” means all applicable Federal,
State or local laws, statutes, ordinances, rules, regulations, recorded declarations or covenants,
orders and other requirements of any government or public authority now in force or which may
hereafter be in force. The term “Legal Requirements” includes, but is not limited to, all
requirements of any board of fire underwriters or other similar body now or hereafter constituted,
and all directions and certificates of occupancy issued pursuant to any law by any governmental
agency or officer, insofar as any of the foregoing relate to or are required by the condition, use or
occupancy of the Premises, by the operation, use or maintenance of any personal property,
fixtures, machinery, equipment or improvements in the Premises, or by the Permitted Use or
other use of the Premises by Tenant and the regulation thereof, including, without limitation, the
Occupational Safety and Health Act and the Americans with Disabilities Act of 1990 (42 U.S.C.
§ 12101 et seq.) and regulations and guidelines promulgated thereunder, as all of the same may
be amended and supplemented from time to time (collectively referred to herein as the “ADA”).
Landlord represents and warrants that all Permitted Encumbrances, applicable zoning and Legal
Requirements in effect as of the date hereof and as of the Commencement Date permit the
Premises to continue to be used for all purposes consistent with the historical use of the Premises
immediately prior to the Commencement Date and area uses accessory and incidental thereto.

The parties agree that (A) Landlord will be responsible for ADA compliance for all areas outside
of the Building and (B) Tenant will be responsible for ADA compliance inside the Building,
including any leasehold improvements or other work to be performed inside the Building under
or in connection with the Lease, except to the extent such work is required by this Lease to be
performed by Landlord.

3.02 Landlord’s Access. Landlord or its agents shall have the right to enter the Premises
during all reasonable hours, upon seventy two (72) hours prior written notice to Tenant (except
in the case of an emergency when no notice is required), to show the Premises to potential
buyers, investors, or lenders when accompanied by a Tenant representative (at Tenant’s option),
for property inspections, for maintenance or for any other purpose Landlord deems reasonably
necessary. During the last nine (9) months of the Term, Landlord may place customary “For
Lease” signs on the Premises.

ARTICLE 4:            RENT

4.01 Base Rent. Commencing on the Commencement Date, and thereafter on the first day of
each calendar month during the Term, Tenant will pay to Landlord as base rent (the “Base
Rent”) the sum of $_______________ in monthly installments, together with applicable sales
taxes thereon in lawful money of the United States, in advance and without offset, deduction,
prior notice or demand, except as otherwise provided herein. If the first day of the Term does
not commence on the first day of the month, a prorated amount of Base Rent shall be paid on the
first day of the Term, using the percentage number of days in said month. The obligation of


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                Tenant to pay Base Rent and other sums to Landlord and the obligations of Landlord under this
                Lease are independent obligations. The Base Rent is payable at Landlord’s Rent Payment
                Address, as defined in Section 17.15, or at such other place or to such other person as Landlord
     *
   Note: If     may designate in writing from time to time. Payments of Base Rent for any partial calendar
Landlord and
 Tenant are
                month will be prorated.
   unable to
determine the
  Base Rent     [Base Rent shall be calculated as follows:
 prior to the
 Commence-
 ment Date,             i.     Tenant shall designate in writing a person to act as its broker for the purpose of
  the broker
 calculation    establishing the Fair Market Rent of the Premises, and shall give notice in writing of such
    method
   would be
                designation to the Landlord. Within ten (10) calendar days after Tenant gives such notice,
     used.      Landlord shall either (A) accept Tenant’s designee as the sole broker, in which event such
                broker’s determination of the Fair Market Rent shall be conclusive or (B) designate in writing a
                person to act as a second broker for establishing the Fair Market Rent and shall give notice
                thereof in writing to Tenant, and the failure by Landlord to timely designate a second broker
                shall be deemed an election by Landlord to accept Tenant’s designee as the sole broker.

                        ii.     Each broker so appointed shall promptly analyze the fair market rent of the
                Premises based upon the current use of the Premises as if vacant and unencumbered by the Lease
                or any other lease (the “Fair Market Rent”). If both Tenant and Landlord designate a broker,
                the Fair Market Rent shall be deemed to be the average of the two market analyses, unless the
                market analyses differ by more than ten percent (10%), in which case the two brokers shall
                together select a third broker and obtain market analysis from the third broker, and the Fair
                Market Rent shall be deemed to be the average of the two closest in value. Landlord and Tenant
                shall cause the brokers to render a prompt, written decision within thirty (30) days after the
                selection of broker to be appointed by the Landlord hereunder.

                         iii.    No broker shall have any personal or financial interest as would disqualify such
                broker from exercising an independent and impartial judgment as to the matter under analysis.
                Each broker shall be a Certified Commercial Investment Member (CCIM) (or any successor
                association or body of comparable standing if such institute is not then in existence), shall have
                at least ten (10) years’ experience in the market analysis of real estate and shall be familiar with
                property values in the metropolitan area in which the Premises is located. Each party shall pay
                the fees and expenses of the broker appointed or selected by it and the fees and expenses of the
                third broker, if any, shall be paid equally by Landlord and Tenant.

                        iv.    In the event of the failure, refusal or inability of any broker to act, a new broker
                shall be appointed as his replacement, which appointment shall be made in the same manner as
                provided above for the appointment of such broker so failing, refusing or being unable to act.
                The decision of the brokers shall be final, conclusive and binding on Landlord and Tenant.
                Landlord and Tenant shall have the right to submit written information, arguments, supporting
                data, and other relevant matters to the brokers in writing.]

                Once calculated as detailed in this Section 4.01, the Fair Market Rent shall equal the Base Rent
                for purposes of this Lease.




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4.02 Additional Rent. All sums payable to Landlord by Tenant under this Lease other than
Base Rent are “Additional Rent.” The term “Rent” includes both Base Rent and Additional
Rent. It is the specific intention of the Landlord and the Tenant that this Lease is a “triple net
lease” (except as otherwise expressly set forth herein), that the Rent shall be absolutely net to the
Landlord, and that, except for any obligations under this Lease specifically assigned to the
Landlord without the right to reimbursement from Tenant, the Tenant shall pay all costs and
expenses (in whatever form) related in any way to the Premises or their upkeep and maintenance,
which expenses are attributable to any period during the Term. Landlord will estimate in
advance and charge to Tenant the following costs, which Tenant will pay with the Base Rent on
a monthly basis throughout the Occupancy Period (defined below): all Operating Expenses under
Section 4.05 of this Lease, including Real Property Taxes (defined in Section 5.02), and all
insurance premiums maintained by Landlord for which Tenant is responsible under Article 8.
“Occupancy Period” means the period from the Commencement Date (or the time Tenant first
enters the Premises pursuant to this Lease, if earlier), throughout the Term and for as long as
Tenant remains in the Premises thereafter.

4.03 Interest. Any Rent or other amount due to Landlord, if not paid when due, will bear
interest from the date due until paid at the annual rate equal to the lesser of eight and one-half
percent (8.5%) per annum or the highest rate legally permitted (“Default Interest”).

4.04 Late Charge. If any installment of Rent or any other sums due from Tenant is not
received by Landlord within ten (10) days following the due date, Tenant will pay to Landlord a
late charge equal to the lesser of (i) five percent (5%) of such overdue amount or (ii) $500.00;
provided, however, Landlord will not charge any late charge for the first time in each calendar
year that such payment is not made within ten (10) days of the due date if payment is received
within five (5) days of receipt of notice. The parties hereby agree that such late charge
represents a fair and reasonable estimate of the costs Landlord will incur by reason of late
payment by Tenant.

4.05     Operating Expenses.

(a)     Operating Expenses. Tenant will pay to Landlord all Operating Expenses incurred by
Landlord and allocable to the Occupancy Period. “Operating Expenses” means all costs and
expenses incurred by Landlord with respect to the ownership, maintenance and operation of the
Premises, including, but not limited to, the following: Real Property Taxes (defined in Section
5.02), maintenance; all insurance premiums maintained by Landlord for which Tenant is
responsible under Article 8 of this Lease; repair and replacement of the items for which Landlord
is responsible for repairing under Section 9.03 of this Lease; personal property taxes; rentals or
lease payments paid by Landlord for rented or leased personal property used in connection with
Landlord’s maintenance obligations for the Premises; any deductible portion of an insured loss
concerning the Premises; fees for required licenses and permits; costs and expenses required by
any governmental or quasi-governmental authority or by Legal Requirements, for any reason,
including capital improvements, whether capitalized or not, and the cost of any capital
improvements incurred in connection with Premises. To the extent any such expenditure by
Landlord constitutes a capital expenditure as determined by Landlord in accordance with
generally acceptable accounting principles (GAAP), then such capital expenditure shall be
amortized, including interest on the unamortized cost at a rate of five percent (5%) per annum,


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over its useful life as reasonably determined by Landlord in accordance with GAAP, and such
amortized amount shall be included in the Operating Expenses charged to Tenant each month.
Operating Expenses shall not include: (a) debt service under mortgages or ground rent under
ground leases; (b) costs of restoration to the extent of net insurance proceeds received by
Landlord; (c) leasing commissions and tenant improvement costs; (d) any/all
management/administrative fees; and (e) Landlord’s general corporate overhead costs.
Additionally, and notwithstanding anything in this Lease to the contrary, Landlord covenants,
acknowledges and agrees that Tenant shall have the absolute right to approve any and all capital
Lease expenditures in excess of Five Thousand and No/100 U.S. Dollars ($5,000.00) on a fiscal
year basis. GAAP shall be used to determine if a Lease expense item is a capital or repair
expense.

Landlord shall inform Tenant of Landlord’s best estimate of Tenant’s proportionate share of the
Operating Expenses and Tenant shall pay one-twelfth (1/12) thereof monthly in advance
(beginning on the Commencement Date and continuing on the first day of each and every
calendar month thereafter during the Term), together with the payment of Base Rent. Tenant
covenants and agrees that Tenant shall remain liable for and shall pay its proportionate share of
Operating Expenses in the amounts and times as set forth herein, notwithstanding the expiration
or earlier termination of this Lease. Operating Expenses shall increase by no more than two
percent (2.0%) each fiscal year during the Term.

(b)     Year-End Reconciliation. After the end of each fiscal year during the Term, Landlord
will deliver to Tenant a statement setting forth, in reasonable detail, the Operating Expenses paid
or incurred by Landlord during the preceding fiscal year. Within thirty (30) days after Tenant’s
receipt of such statement, there will be an adjustment between Landlord and Tenant, with
payment to or credit given by Landlord (as the case may be).

ARTICLE 5:            TAXES

5.01 Real Property Taxes. Tenant will pay to Landlord all Real Property Taxes incurred by
Landlord and allocable to the Occupancy Period. Tenant shall have the right to contest in good
faith the validity of the amount of any Real Property Taxes by appropriate proceedings in the
appropriate jurisdiction, and may defer payments of such obligations, pay the same under protest,
or take such other steps as Tenant may deem reasonably appropriate, provided Tenant’s exercise
of the foregoing right does not subject Landlord to any penalties or materially adversely affect
Landlord’s interest in or financing of the Premises. Landlord will cooperate with the institution
and prosecution of any such proceedings and will execute any documents required therefor
without cost or expense to Tenant. The expense of such proceedings will be borne by Tenant
and any refunds or rebates secured will belong to Tenant. If any tax proceedings result in a
reduction of Real Property Taxes, whether or not the proceedings are brought by Landlord or
Tenant, Landlord will promptly return to Tenant, Tenant’s proportionate share of the excess of
the Real Property Taxes, including any equitable portion of refunds received after the expiration
date of this Lease which are attributable to Real Property Taxes paid during the Term. If
Landlord receives a refund of any Real Property Taxes that Tenant has paid, Landlord will
refund to Tenant such refund after deducting therefrom all related costs and expenses.




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5.02 Definition of Real Property Taxes. “Real Property Taxes” means all taxes (other than
inheritance, personal income or estate taxes), assessments (special, betterment, or otherwise),
levies, fees, rent taxes, excises, impositions, charges, water and sewer rents and charges, and all
other government levies and charges, general and special, ordinary and extraordinary, foreseen
and unforeseen, which are imposed or levied upon or assessed against any legal or equitable
interest of Landlord in the Premises, or any Rent or other sums payable by any tenants or
occupants thereof, or Landlord’s business of leasing, including without limitation gross receipts
and gross rental taxes. Real Property Taxes include Landlord’s costs and expenses of review and
contesting any Real Property Tax. If at any time during the Term the present system of ad
valorem taxation of real property is changed so that in lieu of the whole or any part of the ad
valorem tax on real property, or in lieu of increases therein, Landlord is assessed a capital levy or
other tax on the gross rents received with respect to the Premises or a federal, state, county,
municipal, or other local income, franchise, excise or similar tax, assessment, levy, or charge
(distinct from any now in effect) measured by or based, in whole or in part, upon gross rents or
any similar substitute tax or levy, then all of such taxes, assessments, levies or charges, to the
extent so measured or based, will be deemed to be a Real Property Tax.

5.03 Personal Property Taxes. Tenant will pay directly all taxes charged against trade fixtures,
furnishings, equipment, inventory or any other personal property belonging to Tenant. Tenant
will use its best efforts to have personal property taxed separately from the Premises. If any of
Tenant’s personal property is taxed with the Premises, Tenant will pay Landlord the taxes for
such personal property within fifteen (15) days after Tenant receives a written statement from
Landlord for such personal property taxes.

5.04 Sales Tax. Payment of all sales taxes (“Sales Taxes”) shall be made by Tenant on a
monthly basis, concurrently with payment of the Rent.

ARTICLE 6:            UTILITIES

6.01 Utilities. Tenant shall be solely responsible for and shall promptly pay, directly to the
appropriate supplier, the cost of all natural gas, heat, cooling, energy, light, power, sewer service,
telephone, water, refuse disposal and other utilities and services supplied to the Premises,
together with any related installation or connection charges or deposits (collectively, “Utility
Costs”) incurred during the Occupancy Period. Upon Tenant’s failure to pay any such Utility
Costs, Landlord shall have the right, at Landlord’s option, to pay the same, in which event
Tenant shall repay such amount to Landlord upon demand, together with Default Interest thereon
from the date of demand until paid. If utilities are not separately metered, Landlord shall provide
Tenant with a reasonable estimate thereof based upon the size and use of the Premises. Landlord
agrees to work diligently to separately meter the Premises for all utilities.

ARTICLE 7:            COMPLIANCE WITH LAW

7.01 Use. Except as specifically detailed herein, Tenant acknowledges that neither Landlord
nor any agent of Landlord has made any representation as to the condition of the Premises or the
suitability of the Premises or the Premises for Tenant’s intended use. Tenant shall be responsible
for obtaining all permits and approvals required by the Legal Requirements in connection with
Tenant’s specific manner of use, and specific character of, operations at the Premises and if


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requested, shall provide a copy of the same to Landlord upon receipt of such, if and as
applicable.

7.02 Legal Compliance. Tenant, at its expense, shall comply with all Legal Requirements
(including any Environmental Laws) with respect to the Premises and Tenant’s use, occupancy
and operations at the Premises, including any Legal Requirements that may require alterations,
repairs or replacements, whether structural or nonstructural, exterior or interior to the Premises.
Upon Landlord’s request, Tenant shall evidence to Landlord Tenant’s compliance with such
Legal Requirements, including, without limitation, by providing to Landlord copies of all
operating permits and other approvals, licenses, registrations and the like required by Legal
Requirements in connection with Tenant’s operations at the Premises.

7.03 REA Compliance. Without limiting the foregoing Section or any other provisions of this
Lease, Tenant agrees that Tenant is obligated to and shall perform all obligations of the owner of
the Premises under and pay all expenses which the owner of the Premises may be required to pay
in accordance with any reciprocal easement agreement or any other agreement or document of
record now affecting the Premises, if any, herein referred to collectively as the “REAs”, and that
Tenant shall comply with all of the terms and conditions of any REA during the Term of this
Lease.

7.04 Changes to Fire Suppression System. If any bureau, department or official of the state or
city government having jurisdiction shall require or recommend that any changes, modifications,
alterations, additional sprinkler heads or other equipment be made or supplied to the fire
suppression system by reason of Tenant’s business, or any changes in the Premises after initial
occupancy or if any such changes, modifications, alterations, additional sprinkler heads or other
equipment become necessary to prevent the imposition of a penalty or charge against the full
allowance for a fire suppression system in the initial insurance rate as fixed by the appropriate
board or authority, or by a fire insurance company, then, in any such event, Tenant shall be liable
for the cost of installing, repairing, or replacing as the case may be, any such equipment, and the
cost of any such changes, modifications, alterations, additional sprinkler heads or such other
equipment.

ARTICLE 8:            INSURANCE/INDEMNITY

8.01 Tenant’s Insurance. Tenant, at its expense, will maintain the following insurance
coverages during the Occupancy Period:

(a)      Liability Insurance. Commercial general liability insurance insuring Tenant against
liability for bodily injury, property damage (including loss of use of property) and personal
injury at the Premises, including contractual liability. Such insurance will name Landlord, its
property manager (if any), any mortgagee, and such other parties as Landlord may designate, as
additional insureds (the additional insured status under the commercial general liability insurance
policy will be provided by additional insured endorsement on ISO Form CG 2026 0413 and
provide contractual liability coverage). The initial amount of such insurance will be Three
Million Dollars ($3,000,000) per occurrence and will be subject to periodic increases reasonably
specified by Landlord based upon inflation, increased liability awards, recommendations of
Landlord’s professional insurance advisers, and other relevant factors. The liability insurance


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obtained by Tenant under this Section 8.01 will (i) be primary and (ii) insure Tenant’s
obligations to Landlord under Section 8.06. The amount and coverage of such insurance will not
limit Tenant’s liability nor relieve Tenant of any other obligation under this Lease.

(b)    Worker’s Compensation Insurance. Worker’s Compensation Insurance in the statutory
amount (and Employers’ Liability Insurance) covering all employees of Tenant employed or
performing services at the Premises, in order to provide the statutory benefits required by the
laws of the state in which the Premises are located.

(c)    Automobile Liability Insurance. Automobile Liability Insurance, including but not
limited to, passenger liability, on all owned, non-owned, and hired vehicles used in connection
with the Premises, with a combined single limit per occurrence of not less than Three Million
Dollars ($3,000,000) for injuries or death of one or more persons or loss or damage to property.

(d)     Personal Property Insurance.         Personal Property Insurance covering leasehold
improvements paid for and owned by Tenant and Tenant’s personal property and fixtures owned
by Tenant from time to time in, on, or at the Premises, in an amount not less than 100% of the
full replacement cost, without deduction for depreciation, providing protection against events
protected under a Causes of Loss–Special Form property insurance policy as well as against
sprinkler damage, vandalism, and malicious mischief. Any proceeds from the Personal Property
Insurance will be used for the repair or replacement of the property damaged or destroyed, unless
the Term is terminated under an applicable provision herein. If the Premises are not repaired or
restored in accordance with this Lease, Landlord will receive any proceeds from the personal
property insurance allocable to Tenant’s leasehold improvements.

8.02 Landlord’s Insurance. During the Term, Landlord will maintain in effect a Causes of
Loss–Special Form property insurance policy covering loss of or damage to the Premises in the
amount of its replacement value with such endorsements and deductibles as Landlord determines
from time to time. Landlord will also obtain flood, and windstorm insurance for the Premises.
Landlord will not insure Tenant’s Property. Landlord may obtain commercial general liability
insurance in an amount and with coverage determined by Landlord insuring Landlord against
liability with respect to the Premises. The liability insurance policy obtained by Landlord, if any,
will not provide primary insurance, will not be contributory and will be excess over any liability
insurance maintained by Tenant. Landlord may also maintain a rental income insurance policy,
with loss payable to Landlord. Tenant will reimburse Landlord for the cost of premiums for the
insurance policies maintained by Landlord and related to the Premises. Tenant shall reasonably
approve all underwriters issuing Landlord-required insurance under this Lease. At Tenant’s
option, Tenant may obtain and maintain during the Term, at Tenant’s expense, the Landlord’s
required insurance under this Lease, and if so, Landlord shall reasonably approve the
underwriters issuing the same.

8.03 General Insurance Provisions. Any insurance which Tenant or Landlord is required to
maintain under this Lease will include a provision which requires the insurance carrier to give
Landlord or Tenant, respectively, not less than thirty (30) days’ written notice prior to any
cancellation or modification of such coverage. Not less than thirty (30) days prior to the
expiration or termination of any such insurance, the party required to obtain the insurance shall
deliver to the other party renewal certificates therefor. Each party will provide the other party


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with copies of the policies it has obtained in accordance with this Lease promptly upon request
from time to time.

8.04 Tenant’s Damage Waiver. Tenant shall, on or before the earlier of the Commencement
Date or the date on which Tenant first enters the Premises for any purpose, at its sole cost and
expense, obtain and keep in full force and effect at all times thereafter a waiver of subrogation
from its insurer with respect to the property insurance maintained by Tenant in connection with
the Premises and Tenant’s Property located therein.

8.05 Landlord’s Damage Waiver. Landlord shall, at its sole cost and expense, obtain and keep
in full force and effect at all times a waiver of subrogation from its insurer with respect to the
Premises, Landlord’s owned property located therein and Landlord’s rent loss insurance, if any.

8.06 Indemnity. Tenant shall indemnify, defend, and hold harmless Landlord and Landlord’s
employees, agents, contractors and manager (collectively, the “Landlord Indemnitees”) from
and against any and all loss, damage, claim, demand, liability or expense (including reasonable
attorneys’ fees) resulting from claims by third parties and based on (i) any acts or omissions of
Tenant, its employees, agent or contractors, or (ii) any personal injury or property damage
occurring within the Premises or arising out of Tenant’s operations at the Premises, (BUT NOT
TO THE EXTENT SUCH CLAIMS ARE BASED UPON THE INTENTIONAL
MISCONDUCT OF THE LANDLORD INDEMNITEES). Tenant shall have the right to
assume the defense of any claim covered by this indemnity on behalf of both itself and the
Landlord Indemnitees and the Landlord Indemnitees may not settle such claim without the
consent of Tenant, provided (a) Tenant acknowledges to the Landlord Indemnitees in writing that
it is responsible for such claim under the terms of this paragraph and (b) the lawyers selected by
Tenant to handle such defense are reasonably satisfactory to the Landlord Indemnitees and such
representation does not result in a conflict of interest for such lawyers. The Landlord
Indemnitees may participate in the defense of such claim at their own expense unless Tenant is
not representing the Landlord Indemnitees in which case the reasonable expense of the Landlord
Indemnitees in defending against such claim shall be paid by Tenant. The provisions of this
indemnity shall survive the expiration or earlier termination of this Lease.

8.07 Business Interruption. Landlord shall not be responsible for, and Tenant releases and
discharges Landlord from, and Tenant further waives any right of recovery from Landlord for,
any loss for or from business interruption or loss of use of the Premises suffered by Tenant in
connection with Tenant’s use or occupancy of the Premises. Tenant shall, on or before the
earlier of the Commencement Date or the date on which Tenant first enters the Premises for any
purpose, at its sole cost and expense, obtain and keep in full force and effect at all times
thereafter a waiver of subrogation from its insurer with respect to any business interruption
insurance maintained by Tenant in connection with the Premises.

8.08 Environmental Insurance. Tenant may obtain and maintain environmental insurance in
connection with the Premises.




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ARTICLE 9:            CONDITION AND MAINTENANCE OF PREMISES

9.01 Existing Condition. Except as specifically limited in this Lease, Tenant hereby accepts
the Premises in their present “AS-IS” condition. Tenant acknowledges that neither Landlord nor
any agent of Landlord has made any representation as to the condition of the Premises or the
suitability of the Premises for Tenant’s intended use. Tenant represents and warrants that Tenant
has made its own inspection of and inquiry regarding the condition of the Premises and is not
relying on any representations or warranties (express or implied) of Landlord or any broker with
respect thereto.

9.02 Limitations. Except as specifically limited in this Lease, Tenant agrees to the following
(the “Landlord Disclaimers”): TENANT HEREBY ACKNOWLEDGES AND AGREES
THAT TENANT HAS LEASED AND TAKES THE PREMISES “AS IS”, “WHERE-IS” AND
“WITH ALL FAULTS”.

9.03 Landlord’s Obligations. Subject to the provisions of Article 11 (Casualty and
Condemnation), to Tenant’s express obligations hereunder, and to Tenant’s obligation to pay
Additional Rent pursuant to Section 4.02, and except for damage caused by any act or omission
of Tenant or Tenant’s employees, agents, contractors or invitees, Landlord, at Landlord’s sole
costs and expense, will keep the foundation, roof, structural supports and exterior walls of the
improvements on the Premises in good order, condition and repair and in compliance with all
Legal Requirements. Landlord will not be obligated to maintain or repair windows, doors or
plate glass, or to paint the exterior walls, which will be Tenant’s responsibility. Tenant will
promptly report in writing to Landlord any defective or damage condition known to it which
Landlord is required to repair under this Lease. Landlord will repair, at Tenant’s expense as an
Operating Expense, any damage to the Premises caused by Tenant’s acts or omissions which is
Landlord’s maintenance responsibility under this Section 9.03. Notwithstanding anything herein
to the contrary, in the event Landlord fails to timely fulfill any of Landlord’s maintenance,
repair, and replacement obligations under this Paragraph 9.03 and/or under the Lease, Tenant
may exercise “self-help” remedies to cause any such maintenance, repair and/or replacement
obligation to be fulfilled and off-set the cost of the same against the next occurring Base Rent
with proof of payment therefor.

9.04 Tenant’s Obligations.         Subject to the provisions of Article 11 (Casualty and
Condemnation), Tenant, at its sole cost and expense, will keep all portions of the Premises
(including without limitation, all systems and equipment, i.e., HVAC systems, dock levelers,
bumpers, doors and floors including slabs and slab repairs, crack filling and joint repairs but
specifically excluding the foundation and structural supports) in good order, condition and repair
(including repainting and refinishing, as needed). If any portion of the Premises or any system or
equipment in the Premises which Tenant is obligated to repair can not be fully repaired or
restored, Tenant will promptly replace such portion of the Premises or system or equipment.
Tenant will maintain and pay for a preventive maintenance contract providing for the regular
inspection and maintenance of the heating and air conditioning system that exclusively serves the
Premises by a heating and air conditioning contractor.




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9.05     Tenant’s Alterations.

(a)     Tenant’s Work. Tenant may, at its own cost and expense, without Landlord’s prior
consent, make interior, non structural changes, alterations, additions or improvements to the
Premises (“Alterations”) and install Tenant personal property in the Premises as will, in the
judgment of Tenant, best adapt the Premises for its needs, provided that Tenant complies with
the following provisions:

                 (i)     The Alterations will not result in a violation of or require a change in the
         certificate of occupancy applicable to the Building.

                (ii)    The outside appearance of the Building will not be adversely affected;
         such Alterations will not weaken or impair the structure of the Building, or lessen the
         value of the Premises or the Building.

                   (iii)     No part of the Building outside of the Premises will be physically affected.

                   (iv)      The functioning of the building equipment will not be adversely affected.

                 (v)     Tenant will not install any materials, fixtures or articles or make any other
         alterations (other than such as would constitute Tenant’s Property) which are subject to
         liens, conditional sales contracts, chattel mortgages or security interests, other than
         Tenant’s use of equipment leased by Tenant for computers, office equipment, etc.

(b)    Tenant agrees that all Alterations will at all times comply with all applicable Legal
Requirements and that Tenant, at its expense, will (i) obtain all necessary municipal and other
governmental permits, authorizations, approvals and certificates for the commencement and
prosecution of such Alterations, (ii) deliver copies of all governmental permits, authorizations,
approvals and certificates to Landlord and (iii) cause all improvements to be performed in a good
and workmanlike manner. Tenant, at its expense, will promptly procure the cancellation or
discharge of all notices of violation arising from or otherwise connected with Alterations issued
by any public authority having or asserting jurisdiction.

(c)    Throughout the making of all Alterations (other than mere decorations), Tenant, at its
sole cost and expense, will carry or cause its contractors and subcontractors to carry (i) workers’
compensation insurance in statutory limits covering all persons employed in connection with
such Alterations, (ii) comprehensive liability insurance covering any occurrence in or about the
Premises in connection with such Alterations which complies with the requirements of Paragraph
8.

(d)     Tenant will not subject Landlord’s interest in the Premises to any mechanic’s lien or any
other lien whatsoever. If any mechanic’s lien or other lien, charge or order for payment of
money will be filed as a result of the act or omission of Tenant, Tenant will cause such lien,
charge or order to be discharged or appropriately bonded or otherwise reasonably secured
(“Secured”) within sixty (60) days after notice from Landlord thereof. If Tenant will fail to
cause the lien or encumbrance to be Secured within the sixty (60) day period, then Landlord will
be entitled, but not obligated to, discharge or bond same. Tenant will indemnify and save
Landlord harmless from all liabilities and costs to the extent resulting directly from Tenant’s


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failure to timely secure same. If Tenant fails to cause any such lien to be discharged within the
period aforesaid, then, in addition to any other right or remedy, Landlord may discharge the same
either by paying the amount claimed to be due or by deposit or bonding proceedings. Any
amount so paid by Landlord, and all costs and expenses incurred by Landlord in connection
therewith, will be payable by Tenant within thirty (30) days of demand.

9.06 Surrender. Upon the expiration or earlier termination of the Lease, Tenant will surrender
the Premises to Landlord broom clean and in the condition which Tenant is required to maintain
the Premises under this Lease. Tenant will not be obligated to repair any damage which
Landlord is required to repair under Article 11 (Casualty and Condemnation). Landlord may
require Tenant, at its expense, to remove any of Tenant’s alterations, additions or improvements
prior to the expiration or earlier termination of the Lease and to restore the Premises to their prior
condition. With respect to any alterations, additions or improvements which require Landlord’s
approval, Landlord will specify if Tenant will be required to remove the same at the time of such
approval. Any work which Tenant is not required to remove will, at Landlord’s option, become
Landlord’s property and will be surrendered to Landlord upon the expiration or earlier
termination of the Lease, except that Tenant may remove any of Tenant’s Property which can be
removed without damage to the Premises so long as Tenant repairs any damage caused by such
removal. Landlord shall have the right to remove and dispose of, at Tenant’s expense, Tenant’s
Property remaining in the Premises upon the expiration or earlier termination of this Lease.

9.07 Exemption of Landlord from Liability. Landlord will not be liable for any damage or
injury to the person, business (or any loss of income therefrom), goods, wares, merchandise or
other property of Tenant, Tenant’s employees, invitees, customers or any other person on or
about the Premises, whether such damage or injury is caused by or results from: (a) fire, steam,
electricity, water, gas or rain; (b) the breakage, leakage, obstruction or other defects of pipes,
sprinklers, wires, appliances, plumbing, air conditioning or lighting fixtures or any other cause;
(c) conditions arising in or about the Premises, or from other sources or places; or (d) any
curtailment or interruption in utility services. Tenant will give Landlord prompt notice upon the
occurrence of any accident or casualty at the Premises. Notwithstanding Landlord’s negligence
or breach of this Lease, Landlord shall under no circumstances be liable for injury to Tenant’s
business or for any loss of income or profit therefrom.

9.08 Lease Governs. This Lease governs the parties’ respective obligations for repair and
maintenance of the Premises, and the parties waive the benefit of any existing or future statute
that is inconsistent with the provisions hereof or affords Tenant the right to terminate the Lease
or make repairs at the expense of Landlord.

ARTICLE 10: HAZARDOUS MATERIALS

10.01 Hazardous Materials and Tenant’s Permitted Use. The term “Hazardous Materials” as
used in this Lease shall mean any product, substance, or waste whose presence, use,
manufacture, disposal, transportation, or release, either by itself or in combination with other
materials, is either: (i) injurious to the public health, safety or welfare, the environment, or the
Premises, (ii) regulated or monitored by any governmental authority, or (iii) a basis for potential
liability from any governmental agency or third party under any applicable statute or common
law theory. Hazardous Materials shall include, but not be limited to, hazardous substances,


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hazardous wastes, toxic substances, toxic wastes, polychlorinated biphenyls, asbestos, asbestos
containing materials, hydrocarbons, petroleum, and/or crude oil or any products, by-products or
fractions thereof. Landlord acknowledges, understands and agrees that Tenant’s Permitted Use
of the Premises as of the Commencement Date, including the use of Hazardous Materials, is
acceptable to Landlord in all respects. Notwithstanding the foregoing, throughout the Term
Tenant shall not use or cause the Premises to be used in any manner as to create an
environmental violation.

10.02 Duty to Inform Landlord. If Tenant knows that Hazardous Materials have come to be
located in, on, under or about the Premises during the Term of this Lease, other than as
previously consented to by Landlord and other than in accordance with Legal Requirements,
Tenant shall immediately give written notice of such fact to Landlord, and provide Landlord with
a copy of any report, notice, claim or other documentation which it has concerning the presence
of such Hazardous Materials.

10.03 Tenant Remediation. During the Term of this Lease, Tenant shall not cause or permit
any Hazardous Materials to be spilled or released in, on, under, or about the Premises (including
through the plumbing or sanitary sewer system) except in accordance with Legal Requirements
and shall promptly, at Tenant’s cost and expense, undertake investigatory and/or remedial action
for the cleanup of any contamination of, and for the maintenance, security and/or monitoring of
the Premises that was caused by Tenant, or pertaining to or involving any Hazardous Materials
brought onto the Premises during the Term of this Lease, by or for Tenant, in contravention of
the Legal Requirements.

10.04 Tenant Indemnification. Tenant shall indemnify, defend and hold Landlord, its agents,
employees and lenders, if any, harmless from and against any and all loss of rents and/or
damages, liabilities, judgments, claims, expenses, penalties, and attorneys’ and consultants’ fees
arising out of or involving any Hazardous Materials brought onto the Premises during the Term
of this Lease in contravention of Legal Requirements (provided, however, that Tenant shall have
no liability under this Lease with respect to migration of any Hazardous Materials over, under,
on or about the Premises from adjacent properties). Tenant’s obligations shall include, but not
be limited to, the effects of any contamination or injury to person, property or the environment
created or suffered by Tenant, and the cost of investigation, removal, remediation, restoration
and/or abatement, and shall survive the expiration or termination of this Lease for two (2) years.

10.05 Investigations and Remediation. With respect to the existence of Hazardous Materials on
the Premises prior to the Commencement Date, if any, Landlord shall defend, indemnify, and
hold Tenant, its agents, employees and lenders, if any, harmless from and against any and all
liabilities, damages, losses, costs, assessments, penalties, fines, judgments, claims, expenses, and
fees, including but not limited to attorneys’ and consultants’ fees, arising out of or involving any
Hazardous Materials on the Premises prior to the Term of the Lease (including, without
limitation, any Hazardous Materials existing on the Premises prior to the Commencement Date,
except to the extent, if any, that the same were introduced (or worsened) by Tenant (or Tenant’s)
except to the extent, if any, that the same were introduced (or worsened) by Tenant (or by
Tenant’s agents, employees, contractors); provided, however, the mere discovery by Tenant of
existing Hazardous Materials at or near the Premises shall not be deemed to be an introduction
(or worsening) by Tenant (or by Tenant’s agents, employees or contractors), and Tenant shall


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have no liability or obligation therefor) and Landlord shall retain the responsibility and pay for
any investigations or remediation measures required by governmental entities having
jurisdiction. Tenant shall cooperate fully in any such activities at the request of Landlord,
including allowing Landlord and Landlord’s agents to have reasonable access to the Premises at
reasonable times in order to carry out Landlord’s investigative and remedial responsibilities.

10.06 Landlord Representations and Warranties. Landlord represents, warrants and agrees that:
(i) the Premises and its uses and operations complies, and will comply, with all Legal
Requirements pertaining to Hazardous Materials, (ii) the Premises have never been the subject to
any Federal or State Hazardous Materials related list; (iii) the Premises has never required
closure or clean-up of Hazardous Materials; (iv) there have never been any release or storage of
Hazardous Materials on the Premises in contravention of Legal Requirements; and (v) no
asbestos, no asbestos containing materials, polychlorinated biphenyls or underground storage
tanks exist or have existed on the Premises. Landlord covenants that it will be solely liable for
the clean-up and removal of Hazardous Materials now and in the future existing on the Premises
except to the extent generated, used and brought onto to the Premises by Tenant during the Term
of this Lease. Landlord will defend, indemnify and hold Tenant, its agents, employees and
lenders, if any, harmless from and against any and all liabilities, damages, losses, costs,
assessments, penalties, fines, judgments, claims, expenses, and fees, including attorneys’ and
consultants’ fees, related to Tenant, its agents, employees and lenders, if any, and Landlord’s
breach of any of the above representations and warranties.

10.07 Notification. Landlord and Tenant agree that should it receive notice of (i) any violation
of any Legal Requirements related to Hazardous Materials in, on, at, under or near the Premises,
or (ii) the escape or release of any Hazardous Materials in, on, at, under or near the Premises,
such party shall promptly notify the other thereof in writing.

ARTICLE 11:           CASUALTY AND CONDEMNATION

11.01 Damage to Premises.

(a)     If the Premises are so damaged by fire, other casualty, acts of God or the elements (a
“Casualty”) so that they cannot be restored or made suitable for Tenant’s business needs within
ninety (90) days from the date of the Casualty (“Substantial Damage”), either Landlord or
Tenant may terminate this Lease by written notice given to the other party within thirty (30) days
after the date of the Casualty. If the Lease is so terminated, the termination will be effective as
of the date of the Casualty and the Rent will abate from that date, and any Rent paid for any
period beyond such date will be refunded to Tenant.

(b)    If this Lease is not terminated as provided in subparagraph (a) of this Paragraph, then
Landlord will, at its sole cost and expense, restore the Premises as soon as practical to the
condition existing prior to the Casualty. During the restoration period, the Rent will abate for the
period during which the Premises are not suitable for Tenant’s business needs. If only a portion
of the Premises is damaged then the Rent will abate proportionately. If Landlord fails to
complete such restoration within one hundred twenty (120) days from the date of the Casualty,
Tenant shall have the right to terminate this Lease, provided (i) Tenant gives Landlord not less



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than thirty (30) days prior written notice, and (ii) Landlord does not complete the restoration
during such thirty (30) day period.

(c)    Notwithstanding the foregoing provisions of this Paragraph, in the event that (x) any
portion of the Premises is damaged during the last six (6) months of the Term or (y) any other
portion of the Property is damaged during the last six (6) months of the Term and such damage
materially and adversely interferes with the conduct of Tenant’s business, as reasonably
determined by Tenant, then Tenant shall have the option to terminate this Lease upon thirty (30)
days’ prior written notice to Landlord.

(d)    In the event of the termination of this Lease pursuant to this Paragraph, Base Rent and
Additional Rent shall be prorated as of the date of such termination.

(e)     The provisions of this Article 11 will govern the rights and obligations of Landlord and
Tenant in the event of any damage or destruction of or to the Premises. Tenant waives the
protection of any statute, code or judicial decision which grants a tenant the right to terminate a
lease in the event of the damage or destruction of the leased property.

11.02 Condemnation. If more than twenty percent (20%) of the floor area of the Building is
taken by eminent domain, then Landlord may terminate the Lease as of the date the condemning
authority takes title or possession, by delivering notice to Tenant within ten (10) days after
receipt of written notice of such taking (or in the absence of such notice, within ten (10) days
after the condemning authority takes title or possession). In addition, if more than twenty
percent (20%) of the floor area of the Building or more than twenty five percent (25%) of the
parking on the Premises is taken by eminent domain, either Landlord or Tenant may terminate
the Lease as of the date the condemning authority takes title or possession, by delivering notice
to the other within ten (10) days after receipt of written notice of such taking (or in the absence
of such notice, within ten (10) days after the condemning authority takes title or possession). If
neither party terminates the Lease, this Lease will remain in effect as to the portion of the
Premises not taken, except that the Base Rent will be reduced in proportion to the reduction in
the floor area of the Building. Any condemnation award or payment will be paid to Landlord.
Tenant will have no claim against Landlord for the value of the unexpired Term or otherwise;
provided, however, Tenant may make a separate claim with the condemning authority for its
personal property and/or moving costs so long as Landlord’s award is not reduced thereby.
Notwithstanding anything herein to the contrary, Landlord shall notify Tenant in writing
immediately upon receipt of any notice regarding any proposed condemnation of all or any part
of the Premises.

ARTICLE 12:           ASSIGNMENT AND SUBLETTING

12.01 Landlord’s Consent Required. Tenant shall have the right at any time to assign or
transfer this Lease or sublease the Premises or any part thereof or interest therein, or mortgage,
pledge or hypothecate its leasehold interest, with Landlord’s prior written consent, which such
consent shall not be unreasonably withheld or delayed.

12.02 No Release of Tenant. Notwithstanding any assignment or subletting, Tenant will at all
times remain fully responsible and primarily liable for the payment of Rent and compliance with


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all of Tenant’s obligations under this Lease. If Tenant’s assignee or transferee defaults under
this Lease, Landlord may proceed directly against Tenant without pursuing remedies against the
assignee or transferee.

ARTICLE 13:           DEFAULTS AND REMEDIES

I. Tenant’s Default; Rights and Remedies.

13.01 Covenants and Conditions. Each of Tenant’s obligations under this Lease is a covenant
and a condition. Tenant’s right to continue in possession of the Premises is conditioned upon
such performance. Time is of the essence in the performance by Tenant of all covenants and
conditions.

13.02 Defaults. Each of the following constitutes an “Event of Default” under this Lease:

(a)      Tenant fails to pay Rent or any other sum payable under this Lease within ten (10) days
after it is due; provided, however, with respect to the first such nonpayment in any calendar year,
Tenant will have ten (10) days after receipt of notice that Rent is due to pay such amount;

(b)     Tenant fails to perform any of Tenant’s other obligations under this Lease and such
failure continues for a period of thirty (30) days after notice from Landlord; provided that if more
than thirty (30) days are reasonably required to complete such performance, Tenant will not be in
default if Tenant commences such performance within the thirty (30) day period and thereafter
diligently pursues its completion as soon as reasonably possible; or

(c)    Tenant becomes insolvent or bankrupt, has a receiver or trustee appointed for any part of
its property, makes an assignment for the benefit of its creditors, or any proceeding is
commenced either by Tenant or against it under any bankruptcy or insolvency laws, which
proceeding is not dismissed within sixty (60) days.

13.03 Remedies. Upon each occurrence of an Event of Default and so long as such Event of
Default shall be continuing, Landlord may at any time thereafter at its election:

(a)     Terminate Lease. Landlord may terminate this Lease. If Landlord terminates this Lease,
Landlord may recover from Tenant the sum of: all Base Rent and all other amounts accrued
hereunder to the date of such termination; the value of any free or reduced rent provided for in
this Lease; the cost of removing and storing Tenant’s or any other occupant’s property, and all
reasonable expenses incurred by Landlord in pursuing its remedies, including reasonable
attorneys’ fees and court costs; and the excess of the then present value of the Base Rent and
other amounts payable by Tenant under this Lease as would otherwise have been required to be
paid by Tenant to Landlord during the period following the termination of this Lease measured
from the date of such termination to the expiration date stated in this Lease, over the present
value of any net amounts which Landlord can reasonably expect to recover by reletting the
Premises for such period, taking into consideration the availability of acceptable tenants, the time
period to secure future tenants (and the commencement of the payment of rents), and other
market conditions affecting leasing. Such present values shall be calculated at a discount rate
equal to the ninety (90)-day U.S. Treasury bill rate at the date of such termination.



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(b)      Terminate Right of Possession. Landlord may terminate Tenant’s right of possession of
the Premises without terminating this Lease. If Landlord terminates Tenant’s right of possession
(but not this Lease), Landlord may relet the Premises for the account of Tenant for such rent and
upon such terms as shall be satisfactory to Landlord without thereby releasing Tenant from any
liability hereunder and without demand or notice of any kind to Tenant. For the purpose of such
reletting Landlord is authorized to make any repairs, changes, alterations, or additions in or to the
Premises as Landlord deems reasonably necessary or desirable. If the Premises are not relet,
then Tenant shall pay to Landlord as damages a sum equal to the amount of the rental reserved in
this Lease for such period or periods, plus the cost of recovering possession of the Premises
(including attorneys’ fees and costs of suit), the unpaid Base Rent and other amounts accrued
hereunder at the time of repossession, and the costs incurred in any attempt by Landlord to relet
the Premises. If the Premises are relet and a sufficient sum shall not be realized from such
reletting to satisfy the Rent provided for in this Lease to be paid, then Tenant shall immediately
satisfy and pay any such deficiency. Any such payments due Landlord shall be made upon
demand therefor from time to time and Tenant agrees that Landlord may file suit to recover any
sums falling due from time to time. Notwithstanding any such reletting, or termination of
Tenant’s right of possession, without termination, Landlord may at any time thereafter elect in
writing to terminate this Lease for such previous breach. With respect to any reletting by
Landlord, Landlord and Tenant agree that, in addition to the provisions of Section 13.02(f):
(i) Landlord shall not be obligated to lease the Premises for any use which is not commonly
found at similar properties or for any use which, in Landlord’s reasonable opinion, would be
inappropriate for the Premises; and (ii) any proposed tenant or proposed use must meet all of
Landlord’s leasing criteria, including, without limitation, financial strength and operating
experience.

(c)     Right to Re-Enter. Upon the termination of this Lease or termination of Tenant’s right of
possession as provided in this Lease: (i) Tenant must immediately vacate and surrender the
Premises to Landlord in the condition required by this Lease upon a termination; (ii) Landlord
may enter and take custodial possession of the Premises in accordance with applicable law; and
(iii) upon reentering the Premises, Landlord shall have the right to keep in place and use, or
remove and store, at Tenant’s expense, all Tenant’s Property at the Premises, and if said Tenant’s
Property remaining on the Premises is not claimed by Tenant within forty five (45) days after
such entry, title to the same shall vest in Landlord.

(d)     Waiver. Any law, usage, or custom to the contrary notwithstanding, Landlord shall have
the right at all times to enforce the provisions of this Lease in strict accordance with the terms
hereof; and the failure of Landlord at any time to enforce its rights under this Lease strictly in
accordance with same shall not be construed as having created a custom in any way or manner
contrary to the specific terms, provisions, and covenants of this Lease or as having modified the
same. Tenant and Landlord further agree that forbearance or waiver by Landlord to enforce its
rights pursuant to this Lease or at law or in equity, shall not be a waiver of Landlord’s right to
enforce one or more of its rights in connection with any subsequent default. A receipt by
Landlord of rent or other payment with knowledge of the breach of any covenant hereof shall not
be deemed a waiver of such breach, and no waiver by Landlord of any provision of this Lease
shall be deemed to have been made unless expressed in writing and signed by Landlord.




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(e)    Additional Remedies. Landlord may pursue any other remedy now or hereafter available
to Landlord under the laws or judicial decisions of the state in which the Premises is located.

(f)     Mitigation.   In connection with the exercise by Landlord of its rights and remedies in
respect of any Event of Default, Landlord shall use reasonable efforts to mitigate its damages.

13.04 Damages. On any termination, Landlord’s damages will include all costs and fees,
including reasonable attorneys’ fees that Landlord incurs in connection with any bankruptcy
court or other court proceeding with respect to the Lease, the obtaining of relief from any stay in
bankruptcy restraining any action to evict Tenant, or the pursuing of any action with respect to
Landlord’s right to possession of the Premises. All such damages suffered (apart from Rent
payable hereunder) will constitute pecuniary damages which will be paid to Landlord prior to
assumption of the Lease by Tenant or any successor to Tenant in any bankruptcy or other
proceedings.

13.05 Cumulative Remedies. Except as otherwise expressly provided herein, any and all rights
and remedies which Landlord may have under this Lease and at law and equity are cumulative
and will not be deemed inconsistent with each other, and any two or more of all such rights and
remedies may be exercised at the same time to the greatest extent permitted by law.

13.06 Notice to Landlord. Tenant will give written notice of any failure by Landlord to perform
any of its obligations under this Lease to Landlord and to any ground lessor, mortgagee or
beneficiary under any Security Document (as defined in Section 14.01) encumbering the
Premises whose name and address have been furnished to Tenant. Landlord will not be in
default under this Lease unless Landlord (or such ground lessor, mortgagee or beneficiary) fails
to cure such non-performance within thirty (30) days after receipt of Tenant’s notice or such
longer period as may be required to diligently complete such matter. If Landlord (or such
ground lessor, mortgagee or beneficiary) cannot perform any of its obligations due to events
beyond its reasonable control, the time provided for performing such obligations will be
extended by a period of time equal to the duration of such events. Events beyond Landlord’s
reasonable control include, but are not limited to, acts of God, war, civil commotion, labor
disputes, strikes, fire, flood or other casualty or weather conditions, shortages of labor or
material, and Legal Requirements.

13.07 Landlord’s Right to Cure. If Tenant defaults in the performance of any obligation under
this Lease, Landlord will have the right (but is not required) to perform such obligation and, if
necessary, to enter upon the Premises. All costs incurred by Landlord in connection with such
performance, together with Default Interest thereon from the date incurred by Landlord, will be
deemed to be Additional Rent under this Lease and will be payable to Landlord immediately on
demand. Landlord may exercise the foregoing rights without waiving any of its other rights or
releasing Tenant from any of its obligations under this Lease.

13.08 No Lien for Rent. Landlord hereby waives any and all statutory and/or contractual liens
for Rent in Landlord’s favor, including, without limitation, those arising under the Uniform
Commercial Code in the State in which the Premises is located and under Florida law.

II. Landlord's Default; Rights and Remedies.


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(a)     Landlord Default. Each of the following also constitutes an “Event of Default” under this
Lease: Landlord fails to observe or perform any covenant, agreement, condition or provision of
this Lease, and such failure continues for thirty (30) days after receipt of written notice from
Tenant to Landlord, except that if such failure cannot be cured within such thirty (30) day period,
this period will be extended, provided that Landlord commences to cure such failure within such
thirty (30) day period and proceeds diligently thereafter to seek to effect such cure, provided that
in a situation requiring immediate response, Tenant need only give Landlord such notice as is
reasonable under the circumstances.

(b)     Tenant’s Right to Cure; Interest. Tenant will have the right, but not the obligation, to
cure any Landlord Event of Default. If Tenant spends any money to cure such Landlord Event of
Default, then Tenant will also be entitled to interest on such expenditure, at the highest rate of
interest allowed by law (but not to exceed eighteen percent (18%) per annum) from the date due
until paid unless otherwise specifically provided herein.

(c)     Tenant’s Right to Offset. If an Event of Default by Landlord occurs, Tenant will have all
rights and remedies available at law or in equity, including, but not limited to, the right to set off
against Rent the amount required to cure any Event of Default on the part of Landlord, plus
interest.

ARTICLE 14:           PROTECTION OF LENDERS AND OWNERS

14.01 Subordination. This Lease will subordinate to any mortgage which from time to time
may encumber all or part of the Premises; provided, however, that every mortgagee now existing
or hereafter created intending to be superior in right must (a) recognize the validity of the Lease
and be bound (or bind any successor in foreclosure) in the event of a foreclosure of Landlord’s
interest; and (b) not affect or disturb Tenant’s peaceful and quiet use and enjoyment of the
Premises so long as Tenant is not in default of this Lease. The parties agree to execute, and
Landlord (i) agrees to make best efforts to promptly furnish as to any existing mortgagee and (ii)
will furnish immediately to Tenant as to any future mortgagee of the Premises, a subordination,
non-disturbance and attornment agreement in form and content reasonably acceptable to Tenant.

14.02 Estoppel Certificates. Within thirty (30) days after Landlord’s request, Tenant will
execute, acknowledge and deliver to Landlord a written statement certifying: (i) that none of the
terms or provisions of this Lease have been changed (or if they have been changed, stating how
they have been changed); (ii) that this Lease has not been canceled or terminated; (iii) the last
date of payment of the Base Rent, Additional Rent and other charges and the time period covered
by such payment; (iv) that Landlord is not in default under this Lease (or if Landlord is claimed
to be in default, setting forth such default in reasonable detail); and (v) such other information
with respect to Tenant or this Lease as Landlord may reasonably request or which any
prospective purchaser or encumbrancer of the Premises may require. Landlord may deliver any
such statement by Tenant to any prospective purchaser or encumbrancer of the Premises, and
such purchaser or encumbrancer may rely conclusively upon such statement as true and correct.
If Tenant does not deliver such statement to Landlord within such 30-day period, Landlord, and
any prospective purchaser or encumbrancer, may conclusively presume and rely upon (and
Tenant will be estopped from denying): (a) that the terms and provisions of this Lease have not
been changed except as otherwise represented by Landlord; (b) that this Lease has not been


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canceled or terminated except as otherwise represented by Landlord; (c) that not more than one
month’s Base Rent, Additional Rent or other charges have been paid in advance; and (d) that
Landlord is not in default under this Lease. Landlord hereby agrees to provide to Tenant an
estoppel certificate signed by Landlord, containing the same types of information, and within the
same periods of time, as set forth above, with such changes as are reasonably necessary to reflect
that the estoppel certificate is being granted and signed by Landlord to Tenant, rather than from
Tenant to Landlord or a lender, and shall also contain any other factual information reasonably
requested by Tenant.

14.03 Tenant’s Financial Condition. Within twenty (20) days after request from Landlord from
time to time, but no more often than once in any calendar year, Tenant will deliver to Landlord
Tenant’s financial statements (audited, if available) for the most recent two fiscal years. Such
financial statements may be delivered to Landlord’s mortgagees, lenders and investors and
prospective mortgagees, lenders, purchasers and investors.              Landlord shall exercise
commercially reasonable efforts to keep all non-public financial statements confidential to
Landlord and such mortgagees and lenders or prospective mortgagees, lenders, purchasers and
investors, and their respective attorneys, accountants and representatives, and Landlord will use
them only in connection with the Premises and this Lease.

14.04 Landlord’s Liability. No owner of the Premises shall be liable under this Lease except
for breaches of Landlord’s obligations occurring while owner of the Premises. Any liability of
Landlord for a default by Landlord under this Lease, or a breach by Landlord of any of its
obligations under the Lease, shall be limited solely to its interest in the Premises, and in no event
shall any personal liability be asserted against Landlord in connection with this Lease nor shall
any recourse be had to any other property or assets of Landlord, and Tenant shall not seek
recourse against the individual partners or members of Landlord, nor its or their individual
partners, directors, officers, managers, members, or shareholders, nor any of their personal
assets. The terms of this Section 14.05 shall also apply in the event the holder of any ground
lease, deed of trust or mortgage encumbering the Premises, or any purchaser or transferee
pursuant to the foreclosure or transfer of the Premises under any such instrument becomes the
Landlord.

ARTICLE 15:           PURCHASE OPTION

15.01 Option and Price. Upon not less than one hundred twenty (120) days prior written notice
to Landlord (“PO Notice”), Tenant shall have the option (the “Purchase Option”) to purchase
the Premises from Landlord upon a purchase price to be determined as follows:

        i.     Tenant shall designate in writing a person to act as its appraiser for the purpose of
establishing the Fair Market Value of the Premises, and shall give notice in writing of such
designation to the Landlord. Within ten (10) calendar days after the Tenant gives such notice,
the Landlord shall either (A) accept Tenant’s designee as the sole broker, in which event such
broker’s determination of the Fair Market Rent shall be conclusive or (B) designate in writing a
person to act as a second appraiser for establishing the Fair Market Value and shall give notice
thereof in writing to Tenant, and the failure by Landlord to timely designate a second broker
shall be deemed an election by Landlord to accept Tenant’s designee as the sole broker.



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        ii.    Each appraiser so appointed shall promptly appraise the fair market value of the
Premises based upon the current use of the Premises as if vacant and unencumbered by the Lease
(the “Fair Market Value”). If both Tenant and Landlord designate an appraiser, the Fair
Market Value shall be deemed to be the average of the two appraisals, unless the appraisals
differ by more than ten percent (10%), in which case the two appraisers shall together select a
third appraiser and obtain an appraisal from the third appraiser, and the Fair Market Value shall
be deemed to be the average of the two closest in value. Landlord and Tenant shall cause the
appraisers to render a prompt, written decision within thirty (30) days after the selection of
appraiser to be appointed by the Landlord hereunder.

        iii.   No appraiser shall have any personal or financial interest as would disqualify such
appraiser from exercising an independent and impartial judgment as to the matter under
appraisal. Each appraiser shall be a member of the American Institute of Real Estate Appraisers
(or any successor association or body of comparable standing if such institute is not then in
existence), shall have at least ten (10) years’ experience in the appraisal of real estate and shall
be familiar with property values in the metropolitan area in which the Premises is located. Each
party shall pay the fees and expenses of the appraiser appointed or selected by it and the fees and
expenses of the third appraiser, if any, shall be paid equally by Landlord and Tenant.

       iv.     In the event of the failure, refusal or inability of any appraiser to act, a new
appraiser shall be appointed as his replacement, which appointment shall be made in the same
manner as provided above for the appointment of such appraiser so failing, refusing or being
unable to act. The decision of the appraisers shall be final, conclusive and binding on Landlord
and Tenant. Landlord and Tenant shall have the right to submit written information, arguments,
supporting data, and other relevant matters to the appraisers in writing. As used herein, the
“Fair Market Value” of the Premises shall be the “Purchase Price” of the Premises.

15.02 Closing. Once exercised, the Purchase Option must be closed and Tenant must complete
its purchase of the Premises within ninety (90) days of Tenant’s PO Notice to Landlord.

15.03 Title and Survey.

(a)     Within ten (10) days of determination of the Purchase Price, Landlord, at Landlord’s sole
cost and expense, shall cause a title company mutually acceptable to Landlord and Tenant
(“Title Company”) to furnish to Tenant a commitment for an owner’s policy of title insurance
(“Owner’s Policy”) covering the Premises in the amount of Purchase Price (the
“Commitment”), and complete, legible copies of all instruments shown by the Commitment as
exceptions.

(b)    Within ten (10) days after the determination of the Purchase Price, Landlord, at
Landlord’s expense, shall provide to Tenant a copy of any existing survey of the Premises (the
“Survey”). Tenant, at Tenant’s expense, may order an update of the Survey or a new survey of
the Premises (the “New Survey”).

(c)    Tenant shall notify Landlord of (i) any defects in or encumbrances upon Landlord’s title
to the Premises unacceptable to Tenant and (ii) Tenant’s objections to matters shown by the
Survey or New Survey (collectively, “Tenant’s Title Objections”) within ten (10) days after


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Tenant’s receipt of the last of the Commitment, complete and legible copies of all instruments
shown as exceptions in the Commitment, and the Survey or New Survey. Landlord shall have the
right, but not the obligation, to remove, correct, and/or satisfy Tenant’s Title Objections prior to
Closing. Landlord shall (A) notify Tenant within seven (7) days after receipt of Tenant’s Title
Objections (“Landlord’s Response Period”) as to whether Landlord will seek to remove,
correct, and/or satisfy the same (“Landlord’s Response”), and (B) keep Tenant reasonably
apprised of Landlord’s progress toward removing, correcting, and/or satisfying the same (and the
manner in which such will be removed, corrected, and/or satisfied). If Landlord fails to notify
Tenant of Landlord’s Response within Landlord’s Response Period, then Landlord shall be
deemed to have elected not to seek to remove, correct, and/or satisfy Tenant’s Title Objections.
Title defects or encumbrances set forth on Schedule B of the Commitment to which Tenant does
not object, shall be included within the term “Closing Permitted Exceptions”; provided that
Monetary Liens (defined below) and Tenancy Rights (defined below), shall never be Closing
Permitted Exceptions. If Landlord elects to so cure Tenant’s Title Objections, Landlord shall
diligently pursue the same to completion. If there remains at Closing any of Tenant’s Title
Objections, then Tenant may elect to: (1) consummate the Purchase Option transaction
contemplated by this Lease without regard to such defects and encumbrances; or (2) terminate
this Purchase Option and no party shall have any rights, duties, or obligations hereunder, except
those specifically stated herein to survive termination of this Lease. Notwithstanding anything to
the contrary contained herein, without the necessity of objection or request by Tenant,
contemporaneous with the Closing Date, Landlord shall pay and obtain the release of all liens
and encumbrances affecting the Premises which secure the payment of indebtedness of an
ascertainable amount (“Monetary Liens”), excepting only the lien for ad valorem taxes for the
year of Closing, if not then due and payable. In the event Tenant opts to terminate the Purchase
Option prior to the termination of the Term, the Lease shall continue, at Tenant’s option, in full
force and effect.

15.04 Landlord Covenants. From and after the PO Notice until Closing, or earlier termination
of this Lease, the Landlord or the Landlord’s agents shall:

(a)    Operation. Operate and maintain the Premises substantially in accordance with the
Landlord’s past practices with respect to the Premises.

(b)    Contracts. Not execute any new contract or amend or terminate any existing contract in
connection with the Premises without Tenant’s prior written approval, which shall not be
unreasonably withheld or delayed.

(c)    Leases. Not execute any new lease or amend, terminate or accept the surrender of any
lease without Tenant’s prior written approval, which shall not be unreasonably withheld or
delayed.

(d)    Litigation; Violations. Advise the Tenant promptly of any litigation, arbitration
proceeding or administrative hearing (including condemnation, foreclosure or bankruptcy) before
any governmental authority which affects the Landlord or the Premises. Deliver to Tenant
promptly after receipt thereof copies of any notices of violations or other notices regarding the
Premises received by the Landlord.



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(e)    Sale of Personal Property. Not transfer or dispose of, or permit to be sold, transferred or
otherwise disposed of, any item or group of items constituting personal property associated with
the Premises, except for the use and consumption of inventory, office and other supplies and
spare parts, and the replacement of worn out, obsolete and defective tools, equipment and
appliances, in the ordinary course of business.

(f)    Actions. Not waive, release, assign, settle or compromise any material actions against
the Landlord or the Premises.

(g)    Zoning. Not initiate or consent to any material zoning reclassification of the Premises or
any material change to any approved site plan, special use permit, planned unit development
approval or other land use entitlement affecting the Premises.

15.05 Closing Documents. At or prior to Closing, each party shall deliver to the other party
documents reasonably required by the other party to establish the authority of such party to enter
into and perform the transactions contemplated by this Agreement. Landlord shall, at its own
cost and expense, also deliver to Tenant at Closing the following: Landlord’s warranty deed, any
required corporate resolutions or authorizations, affidavit(s) of non-foreign status (federal or
state), bill of sale conveying to Tenant all personal property (both tangible and intangible) with
respect to the Premises (if any), to the extent not already delivered to Tenant all leases affecting
the Premises, an assignment of all existing contracts (to the extent that such contracts are
acceptable to Tenant in its sole discretion), termination of all contracts that Tenant has elected, in
Tenant’s sole discretion, not to assume, with Tenant being responsible for all termination costs
applicable thereto, and assignment of all warranties relating the Premises, if any and Landlord’s
proof of payment of Sales Taxes through Closing. The parties also shall deliver at Closing any
other documents reasonably necessary to complete and evidence the acquisition of the Premises
contemplated hereby, in a form reasonably satisfactory to the parties including, without
limitation, a closing statement.

15.06 Pro Rations.

(a)     Transfer Taxes, Recording Fees and Other Fees. Landlord shall pay any applicable
grantor transfer taxes (including, without limitation, documentary transfer taxes), the cost to
prepare the deed from Landlord, and the cost of recording all documents necessary to correct or
remove defects in or encumbrances upon Landlord’s title to the Premises (if applicable) and the
cost of a base premium for an Owner’s Policy of title insurance. Tenant shall pay the cost of any
New Survey obtained by Tenant, the cost of any endorsements or extended title insurance
coverage, the cost of preparing and/or recording all documents to be recorded other than those
referred to in the preceding sentence, and any other reasonable and customary costs related to the
Closing. Each party shall pay its own attorneys’ fees. The Landlord and Tenant shall each pay
one-half (½) of the Title Company’s escrow fee to close the Purchase Option transaction.

(b)     Taxes. Real Property Taxes and assessments (“Taxes”) assessed against the Premises for
the year in which Closing occurs shall be prorated as of 11:59 p.m. on the day preceding the
Closing Date, and shall be based on the actual Taxes for the current year. If the actual Taxes for
the current year are unavailable, then such pro-ration shall be based on the actual Taxes for the
prior year, using the maximum discount, and shall be a final settlement at Closing. In either


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event, if the Premises is in the tax records as a separate parcel on the Closing Date, the Taxes
shall be prorated on the basis of time and applied as an adjustment of the Purchase Price due at
Closing. Landlord shall promptly provide Tenant with all relevant documentation relating to the
Taxes (including, without limitation, any tax bills) received by Landlord after Closing. If the
Premises is part of a larger parcel during the calendar year or tax year of the Closing, the Taxes
shall be prorated on the basis of acreage (and improvements on such acreage, if any) as well as
time, and Tenant shall pay to Landlord Tenant’s resulting share of the Taxes at Closing. In the
event the Premises are subject to reduced taxes pursuant to an agricultural or open land use
exemption, then Landlord shall be responsible for any and all rollback taxes assessed against the
Premises, which obligation shall survive Closing.

(c)      Personal Property and Other Taxes. Landlord shall, at its own cost, be responsible for,
and shall indemnify Tenant against, all personal property taxes attributable to personal property
owned and/or leased by Landlord and other taxes and assessments with respect to the Premises
(including all deferred taxes and all subsequent tax assessments, if any, for years prior to Closing
due to change in land usage or ownership [whether such change is deemed to have occurred
before or after Closing]) for the period of time prior to the Closing. Tenant shall be responsible
for its personal property taxes throughout the Term. This covenant and indemnity shall survive
Closing.

(d)    Sales Taxes. Landlord shall, at its own cost, be responsible for, and shall indemnify
Tenant against, all Sales Taxes with respect to the Premises (including all unpaid Sales Taxes, if
any, for years prior to Closing) for the period of time prior to the Closing. This covenant and
indemnity shall survive Closing.

(e)     Utilities. If any utility services are presently being provided to or serving the Premises,
Landlord will pay for such services up to and including the Closing Date, but thereafter any such
services in the name of Landlord shall be terminated and/or transferred by Landlord at Tenant’s
election. If necessary, the parties shall refund or repay such sums as shall be necessary to effect
such apportionment. Tenant is responsible for obtaining its own utility account(s) for utility
services to the Premises and for all utility charges associated therewith after the Closing Date.
This Section 15.06 shall survive Closing.

(f)     Rents and Other Amounts. All rents, if any, with respect to the Premises for the month in
which the Closing occurs shall be pro-rated to the Closing Date. For the purposes of calculating
pro-rated amounts, Tenant shall be deemed to be entitled to the Premises, and therefore entitled
to the income from the Premises, beginning as of the date of the Closing Date. At Closing, all
security deposits, advance rentals, and other deposits, if any, made pursuant to leases and other
contracts concerning the Premises shall be retained by Landlord and credited against the balance
of the Purchase Price due at Closing. If the balance due at Closing is less than the sum of all
deposits to be transferred, all deposits will be remitted to Tenant in cash at Closing. If there are
any delinquent rents as of the Closing Date, Landlord shall have no right to pursue collection
thereof. However, in the event Tenant receives such delinquent rents (after application of all
funds received by Tenant to current charges due and not such delinquencies), Tenant shall remit
the amount of such delinquent rents received by Tenant to Landlord. Tenant shall have no
obligation to pursue collection of delinquent rents. This Section 15.06 shall survive Closing.



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15.07 Closing. The Closing (the “Closing”) of the acquisition shall occur, if at all, at the
offices of the Title Company or at another place designated by Tenant and Landlord; provided,
however, that neither party shall be obligated to attend Closing, as long as all documents and
funds required to be delivered by such party at Closing have been delivered and are in the
possession of the Escrow Agent. The date of Closing shall be on a date mutually selected by
Landlord and Tenant that occurs prior to the Closing Date.

15.08 Memorandum of Lease and Purchase Option. Notwithstanding anything to the contrary
in this Lease, Landlord may not terminate this Lease, whether as a result of a Default hereunder
by Tenant or otherwise, unless (i) it has provided Tenant at least thirty (30) days prior written
notice of its intent to terminate the Lease in accordance with the terms hereof and (ii) within such
thirty (30) day period, Tenant has not delivered to Landlord a notice of Tenant’s election to
exercise the Purchase Option. If Tenant does elect to exercise the Purchase Option within such
thirty (30) day period, the Lease shall continue in effect for such additional period as is necessary
for the Closing to occur in accordance with the terms of this Article 15.

ARTICLE 16:           SIGNS

16.01 Signs. Tenant shall have the right to place an exterior sign on all sides of the Building, in
accordance with the maximum signage allowed by the local authority. Tenant shall be entitled to
use any monument and pylon sign space located on the Premises. Notwithstanding anything in
this Lease to the contrary, Tenant has the right, without Landlord’s consent, to place any and all
signage within the interior of the Premises, including, without limitation, exterior doors and
windows of the Premises, as Tenant may desire.

ARTICLE 17:           MISCELLANEOUS PROVISIONS

17.01 Radon Disclosure. Radon is a naturally occurring radioactive gas that, when it has
accumulated in a building in sufficient quantities, may present health risks to persons who are
exposed to it over time. Levels of radon that exceed federal and state guidelines have been found
in buildings in Florida. Additional information regarding radon and radon testing may be
obtained from your county health department.

17.02 Security of Premises. Landlord and Tenant agree that Tenant shall have the right to
secure the Premises with any and all means, including but not limited to, an alarm system,
security gate, security grills, security shutters, electronic or laser locks, which in Tenant’s sole
opinion will successfully secure the operations of Tenant.

17.03 Tenant’s Property. Notwithstanding anything stated in this Lease to the contrary,
Landlord and Tenant expressly acknowledge that nothing in this Lease shall be deemed a grant
by Tenant of a security interest, or other lien, in favor of Landlord, upon any goods or other
Tenant’s Property situated in or upon the Premises. Landlord expressly waives any rights,
whether statutory, contractual or otherwise, that it may have to any lien against Tenant’s
Property, unless said lien is obtained pursuant to a final judgment by a court of competent
jurisdiction. Tenant may remove Tenant’s Property from the Premises at any time during the
Term. As used herein, “Tenant’s Property” shall mean Tenant’s personal property, furniture,
furnishings, signs, telecommunications equipment, equipment and trade fixtures.


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17.04 Signal Enhancing Device. Landlord hereby consents to the installation by Tenant, at
Tenant’s sole cost and expense, of a signal enhancing antenna(s), or such technological evolution
of the same (hereinafter the “Antenna” (whether one or more)) so that Tenant may provide
adequate phone or other electronic device signal strength within the Premises. Tenant and
Landlord will mutually agree on the location of the Antenna on the Building. Prior to any such
installation, the specifications of such Antenna will be reviewed within fifteen (15) days of the
submission thereof to Landlord, and approved by Landlord, which such approval will not be
unreasonably withheld, delayed or conditioned. Landlord will permit Tenant to install wiring
between the roof and Premises in appropriate locations and through conduits in the Building and
access to the roof to service and maintain equipment. Tenant will be responsible to ensure that
the installation, maintenance and removal and operation of the Antenna (i) complies with all
Legal Requirements, and (ii) screening of the Antenna, if required by Landlord. Other than the
foregoing, there will be no additional Lease costs associated with such rooftop rights. All other
provisions of the Lease will apply to the Antenna.

17.05 Satellite Dish. Landlord hereby consents to the installation by Tenant, at Tenant’s sole
cost and expense, of two satellite dishes or such technological evolution of the same (“Dishes”).
Neither of the Dishes shall exceed three feet (3’) in diameter. The Dishes will be located on the
roof of the Building, at the location mutually agreed upon by Tenant and Landlord. Prior to any
such installation, the specifications of such Dishes will be reviewed and approved by Landlord,
which approval will not be unreasonably withheld, delayed or conditioned, and in no event later
than fifteen (15) days after its submission to Landlord. Other than the foregoing, there will be no
additional Lease costs associated with such rooftop rights. All other provisions of the Lease will
apply to the Dishes.

17.06 Tenant’s Right to Vacate the Premises. Notwithstanding anything herein to the contrary,
Landlord and Tenant agree that the Tenant will not be in default of this Lease if the Tenant
vacates the Premises so long as the Tenant continues to pay the Landlord the Rent and all other
charges due under this Agreement.

17.07 Quiet Enjoyment. Landlord covenants that Tenant will have peaceful and quiet
enjoyment and possession of the Premises for the Term, subject to the terms and conditions set
forth in this Lease.

17.08 Force Majeure. Force Majeure means if Landlord or Tenant is delayed or prevented from
performing any act which it is obligated to perform under this Lease for causes beyond its
reasonable control (including, without limitation, repair, restoration and/or maintenance
obligations) related to acts of God, war, governmental restrictions, or the inability to procure the
necessary labor or materials, (“Force Majeure”).

Except as otherwise provided in this Lease, Landlord or Tenant’s time for performance of such
obligation(s) hereunder will be reasonably extended by the period during which Landlord or
Tenant was unable to perform, and the non-performing party will have no liability to the other
party (nor will either party be entitled to terminate this Lease or claim any abatement under this
Lease) on account of any such delay.




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17.09 Legal Requirements and Sales Taxes. As of the Effective Date of this Lease, Landlord
has paid all Sales Taxes applicable to the Premises and met all Legal Requirements related
thereto. Landlord indemnifies and holds Tenant harmless from any and all unpaid Sales Taxes
related to any prior lease of the Premises.

17.10 Parking. Landlord covenants that throughout the Term the Premises shall have adequate
parking facilities for Tenant, its employees, contractors, representatives, customers and invitees.
Landlord and Tenant agree that Tenant shall have the exclusive right to use ____ (___) parking
spaces which are marked as “Tenant’s Exclusive Parking” on the attached site plan, Exhibit C.
Tenant will have the right to designate Tenant’s Exclusive Parking by posting signs or marking
the curb or the pavement. In addition, Tenant shall have the nonexclusive right to use all other
parking on the Premises at no additional charge. In no event shall Tenant or any of Tenant’s
customers, employees, contactors, representatives or invitees be charged for parking during the
Term of the Lease. Landlord covenants that the nonexclusive parking on the Premises shall not
be reduced below __________(___) parking spaces per one thousand (1,000) square feet of the
total leasable square footage of the Premises.

17.11 Termination of Existing Lease. Any and all existing leases related to the Premises
between Landlord and Tenant, whether written or oral, including without limitation that certain
lease listed on Exhibit D are hereby terminated upon the Commencement Date of this Lease.
Landlord shall execute all additional documentation, if any, required by Tenant to with respect to
such termination. In no event shall Tenant be liable for any costs, expenses, Taxes, insurance,
Rent or any other charges with respect to the lease on Exhibit D, or with respect to any other
prior written or oral leases for the Premises.

17.12 Representation of Authority; No Other Lease.

(a)     Landlord hereby represents that it is the fee simple owner of the Premises, that there is no
other outstanding lease of the Premises and that it has the full right, power and authority to enter
into this Lease without the consent or approval of any other entity or person. Tenant represents
and warrants to Landlord that it has full right, power and authority to enter into this Lease
without the consent or approval of any other entity or person.

(b)     The signatories on behalf of Landlord and Tenant further represent and warrant that they
have full right, power and authority to act for and on behalf of Landlord and Tenant in entering
into this Lease.

(c)     Both Landlord and Tenant hereby agree that they are making the representations set forth
in (a) and (b) above knowing that the other party will rely thereon.

17.13 Interpretation. The captions of the Articles or Sections of this Lease are not a part of the
terms or provisions of this Lease. Whenever required by the context of this Lease, the singular
includes the plural and the plural includes the singular. The masculine, feminine and neuter
genders each include the other. In any provision relating to the conduct, acts or omissions of
Tenant, the term “Tenant” includes Tenant, any others using or occupying the Premises or any
portion thereof with Tenant’s express or implied permission, and their respective agents,
employees, contractors, invitees and guests. This Lease does not, and nothing contained herein,


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will create a partnership or other joint venture between Landlord and Tenant. A determination
by a court of competent jurisdiction that any provision of this Lease or any part thereof is illegal
or unenforceable will not invalidate the remainder of such provision, which will remain in full
force and effect.

17.14 Incorporation of Prior Agreements; - Modifications. This Lease is the only agreement
between the parties pertaining to the lease of the Premises. All amendments to this Lease must
be in writing and signed by all parties. Any other attempted amendment will be void.

17.15 Notices. All notices, requests and other communications required or permitted under this
Lease will be in writing and personally delivered or sent by a national overnight delivery service
which maintains delivery records. Notices will be delivered as follows to Tenant’s Notice
Address or to Landlord’s Notice Address, as appropriate:

Tenant’s Notice Address                   ______________________________
                                          ______________________________
                                          ______________________________

Tenant’s Billing Address (if different)   ______________________________
                                          ______________________________
                                          ______________________________

Landlord’s Notice Address                 Mr. Jason Rubin
                                          12900 NW 38th Avenue
                                          Opa Locka, Florida 33054

With a copy to                            Mr. Alan Silverstein, Esq.
                                          700 Village Square Crossing, Suite 101
                                          Palm Beach Gardens, Florida 33410

Landlord’s Rent Payment Address           Mr. Jason Rubin
                                          12900 NW 38th Avenue
                                          Opa Locka, Florida 33054

All notices will be effective upon delivery (or refusal to accept delivery). Either party may
change its notice address upon ten (10) days prior written notice to the other party given in
accordance with the terms of this Section 17.15.

17.16 Waivers. Any waiver, to be effective, must be in writing and signed by the waiving
party. Landlord’s failure to enforce any provision of this Lease or its acceptance of Rent is not a
waiver and will not prevent Landlord from enforcing that provision or any other provision of this
Lease in the future. No statement on a payment check from Tenant or in a letter accompanying a
payment check will be binding on Landlord. Landlord may, with or without notice to Tenant,
negotiate such check without being bound by to the conditions of such statement.




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17.17 Memorandum of Lease and Purchase Option. Landlord and Tenant agree that Tenant
may record a Memorandum of Lease and Purchase Option.

17.18 Binding Effect; Choice of Law. This Lease will bind any party who legally acquires any
rights or interest in this Lease from Landlord or Tenant, provided that Landlord will have no
obligation to Tenant’s successor unless the rights or interests of Tenant’s successor are acquired
in accordance with the terms of this Lease. The laws of the state in which the Premises is located
govern this Lease. THE PARTIES HERETO WAIVE TRIAL BY JURY IN ANY
ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY ANY PARTY(IES)
AGAINST ANY OTHER PARTY(IES) ON ANY MATTER ARISING OUT OF OR IN
ANY WAY CONNECTED WITH THIS LEASE OR THE RELATIONSHIP OF THE
PARTIES HEREUNDER.

17.19 Execution of Lease. This Lease may be executed in counterparts and, when all
counterpart documents are executed, the counterparts will constitute a single binding instrument.
Landlord’s delivery of this Lease to Tenant is not to be deemed to be an offer to lease and will
not be binding upon either party until executed and delivered by both parties.

17.20 Survival. Unless otherwise expressly provided in this Lease, all representations and
warranties of Landlord and Tenant, Tenant’s indemnity under Sections 2.02 (Holding Over) and
8.06 (Indemnity), the provisions of Article 10 (Hazardous Materials), the covenant and
indemnification provisions of Section 15.06(b), (c), (d), (e) and (f), the indemnification
provisions of Section 17.21 (No Brokers), and all obligations of Tenant to pay Additional Rent
hereunder, shall survive the termination of this Lease.

17.21 No Brokers. Except as specifically detailed herein, Landlord and Tenant each represent
and warrant to the other that there are no agents, brokers, finders or other parties with whom it
has dealt who may be entitled to any commission or fee with respect to this Lease or the
Premises. Landlord and Tenant each agree to indemnify and hold the other party harmless from
any such claim, demand, cost or liability for a commission or fee, including, without limitation,
attorneys’ fees and expenses, asserted by any person or entity based upon dealings with the
indemnifying party.

17.22 Attorney Costs. In any enforcement proceeding brought by either party with respect to
this Lease, the non-prevailing party will pay to the prevailing party in such proceeding all costs,
including reasonable attorneys’ fees and court costs, incurred by such other party with respect to
said proceeding and any appeals therefrom.

17.23 Severability. If any clause or provision of this Lease is illegal, invalid or unenforceable
under present or future laws, then and in that event, it is the intention of the parties hereto that
the remainder of this Lease shall not be affected thereby. It is also the intention of the parties to
this Lease that in lieu of each clause or provision of this Lease that is illegal, invalid or
unenforceable, there be added, as a part of this Lease, a clause or provision as similar in terms to
such illegal, invalid or unenforceable clause or provision as may be possible and be legal, valid
and enforceable.




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17.24 Rules and Regulations; Patriot Act. Tenant agrees to abide by Landlord’s rules and
regulations for the Premises as such rules and regulations shall be reasonably determined and
modified by Landlord from time to time, and each of Landlord and Tenant shall be responsible
for the compliance of such rules and regulations by their employees, agents, customers and
invitees.

Each of Landlord and Tenant represent and warrant that on behalf of themselves and their
respective affiliates that neither is nor any affiliate of Landlord or Tenant is in violation of the
USA Patriot Act, Executive Order 13224 or any anti-terrorism laws, and each of Landlord and
Tenant acknowledges that if Landlord or Tenant were to violate the provisions of this paragraph,
or if Landlord or Tenant or any affiliate of either Landlord or Tenant were to become identified
on any blocked persons list, either at the time of execution of this Lease or any time thereafter,
that Landlord or Tenant shall thereupon be in default of this Lease.

17.25 Additional Provisions. The exhibits and riders, if any, attached hereto, are incorporated
herein by reference.

17.26 Time of Essence. Time is of the essence with respect to the performance of every
provision of this Lease in which time of performance is a factor. All reference to “days” as used
in this Lease will mean calendar days unless otherwise so designated in this Lease.




                                    [Signatures on the Following Page]




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IN WITNESS WHEREOF, this Lease has been executed by the duly authorized representatives
of Landlord and Tenant on the respective dates set forth below, to be effective for all purposes,
however, as of the Effective Date as set forth above.

                                             LANDLORD:

                                             [LANDLORD ENTITY]


                                             By:
                                             Name:
                                             Title:


                                             Date:


                                             WITNESSES:



                                             Name:
                                             Address:



                                             Name:
                                             Address:


                                             TENANT:




                                             By:
                                             Name:
                                             Title:


                                             Date:




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                                             WITNESSES:



                                             Name:
                                             Address:



                                             Name:
                                             Address:




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                                            EXHIBIT A

                                    Legal Description of the Land

                                           [See attached]




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                                              EXHIBIT B

                                Memorandum of Lease and Purchase Option

       THIS MEMORANDUM OF LEASE AND PURCHASE OPTION (“Memorandum”) is
entered into as of ________________, 2018, by and between __________________, a
__________________, whose address is __________________, as Landlord, and
__________________, a __________________, whose address is __________________, as
Tenant.

                                          W I T N E S S E T H:

        WHEREAS, Landlord and Tenant have heretofore entered into that certain Lease dated
_________ (the “Lease”), covering certain Premises as more particularly described in the Lease
(herein, the “Premises”), which Premises are located in the City of _________,
_________County, Florida that is more particularly described on Exhibit A attached hereto, and

        WHEREAS, it is the desire of both Landlord and Tenant to memorialize the Lease and
set forth certain pertinent data with respect thereto,

      NOW THEREFORE, with respect to the Lease, Landlord and Tenant hereby
acknowledge and agree as follows:

       1.     Demise. The Premises have been and are hereby demised, let and leased by
Landlord to Tenant, and taken and accepted by Tenant from Landlord, all pursuant to and in
accordance with the Lease.

        2.    Term. The Term of the Lease is from the Commencement Date, until _________,
unless extended by agreement of Landlord and Tenant.

       3.     Possession. Landlord has delivered possession of the Premises to Tenant and
Tenant has accepted delivery and taken possession of the Premises from Landlord.

        4.     Purchase Option. Pursuant to the Lease, Tenant has been granted an option to
purchase the Premises. Tenant’s Purchase Option (as defined in the Lease) is an integral part of
the Lease and is a major inducement for Tenant to execute the Lease. Landlord will not convey,
sell, encumber, mortgage or assign the Premises or any interest of Landlord in the Premises.

       5.      Inconsistent Provisions. The provisions of this Memorandum constitute only a
general description of the content of the Lease with respect to matters set forth herein.
Accordingly, third parties are advised that the provisions of the Lease itself shall be controlling
with respect to all matters set forth herein. In the event of any discrepancy between the
provisions of the Lease and this Memorandum, the provisions of the Lease shall take precedence
and prevail over the provisions of this Memorandum.

       6.      Termination of Lease. All rights of Tenant in the Premises shall terminate upon
the expiration or earlier termination of the Lease, upon the terms and conditions stated therein.


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        7.     Counterparts. This Memorandum may be executed in one or more counterparts,
and all such counterparts taken together shall for all purposes constitute one and the same.



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       IN WITNESS WHEREOF, Landlord and Tenant have caused this Memorandum to be
duly executed effective as of the day and year first above written.

                                             LANDLORD:



                                             By:
                                             Name:
                                             Title:


                                             Date:


                                             WITNESSES:



                                             Name:
                                             Address:



                                             Name:
                                             Address:


                                             TENANT:




                                             By:
                                             Name:
                                             Title:


                                             Date:


                                             WITNESSES:



                                             Name:


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                                             Address:



                                             Name:
                                             Address:




After recording, return to:

Dykema Gossett PLLC
Attn: Teresa Ereon Giltner
1717 Main St #4200
Dallas, TX 75201




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STATE OF ________________
COUNTY OF _____________

        The foregoing instrument was acknowledged before me this _____ day of
______________, 2018, by ____________, as ____________ of ____________, as the sole
member of ____________, a ________________________, on behalf of the ____________.
He/she is personally known to me or has produced ____________________________
identification.

                                             ________________________________________
                                             Print Name: ______________________________
                                             Notary Public, State of _____________________
                                             Commission #: ___________________________
                                             My commission expires: ____________________
                                             (NOTARY SEAL)




STATE OF _____________
COUNTY OF _____________

        The foregoing instrument was acknowledged before me this _____ day of
______________,      2018,      by   ___________________________________,          as
_________________________ of ____________, a ____________, on behalf of ____________.
He/she is personally known to me or has produced ____________________________
identification.

                                             ________________________________________
                                             Print Name: ______________________________
                                             Notary Public, State of _____________________
                                             Commission #: ___________________________
                                             My commission expires: ____________________
                                             (NOTARY SEAL)




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                                           EXHIBIT A

                                     LEGAL DESCRIPTION




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                                           EXHIBIT C

                                             Parking




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                                           EXHIBIT D

                                          Existing Lease




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